       Case 2:23-cv-07970-CBM-MAA Document 14 Filed 09/29/23 Page 1 of 5 Page ID #:77
Name and address:
                THE VORA LAW FIRM, P.C.
             Lou Egerton-Wiley (SBN 323482)
                     lou@voralaw.com
           201 Santa Monica Boulevard, Suite 300
               Santa Monica, California 90401

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
DONALD LEO MELLEIN
                                                         Plaintiff(s),                        2:23-cv-07970-CBM-MAA

                 v.
                                                                             APPLICATION OF NON-RESIDENT ATTORNEY
UNITED STATES OF AMERICA, et al.                                                   TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                       PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Frommer, Robert, P.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney □
Institute for Justice
Firm/Agency Name
901 N. Glebe Road, Suite 900                                             (703) 682-9320                      (703) 682-9321
                                                                         Telephone Number                    Fax Number
Street Address
Arlington, VA 22203                                                                              rfrommer@ij.org
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Donald Leo Mellein ✖ Plaintiff(s) □ Defendant(s) □ Other:
------------- □
-  -     -    -     -    -    -   - - - - - - □ Plaintiff(s) □ Defendant(s) □ Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission          Active Member in Good Standing? (if not, please explain)
*SEE SECTION IV




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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
       Case Number                                    Title o(Action                              Date of Application       Granted I Denied?
 2:21-cv-04405-RGK              Paul Snitko, et al. v. United States of America, et al.          5/27/2021                 Granted 6/04/2021




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
  NIA




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II-CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice oflaw, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated   9/Jt    , k c~                                 Robert P. Frommer
                                                                                                 type or print)


                                                                      Applicant's Signature


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SECTION III - DESIGNATION OF LOCAL COUNSEL
Egerton-Wiley, Lou
Designee's Name (Last Name, First Name & Middle Initial)
The Vora Law Firm, P.C.
Firm/Agency Name
201 Santa Monica Blvd.                                            (424) 258-5190
Suite 300                                                         Telephone Number                         Fax Number
Street Address                                                    lou@voralaw.com
Santa Monica, CA 90401                                            Email Address
City, State, Zip Code                                             323482
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated   September 29, 2023                         Lou Egerton-Wiley
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Robert P. Frommer is admitted to following Federal Courts/State Bars:

  U.S. Supreme Court, July 27, 2009, Active Member in Good Standing
  U.S. Court of Appeals – 4th Circuit, February 16, 2011, Active Member in Good Standing
  U.S. Court of Appeals – 8th Circuit, March 14, 2006, Active Member in Good Standing
  U.S. Court of Appeals – 9th Circuit, June 7, 2017, Active Member in Good Standing
  U.S. Court of Appeals – DC Circuit, July 15, 2009, Active Member in Good Standing
  U.S. District Court – Eastern District of Virginia, October 29, 2010, Active Member in Good Standing

  District of Columbia Bar, April 3, 2006, Bar No. 497308, Inactive Member in Good Standing
  Virginia Bar, June 4, 2005, Bar No. 70086, Active Member in Good Standing




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              On behalfofJULIO A. CASTILLO, Clerk of the District of Columbia Court ofAppeals,
                            the District of Columbia Bar does hereby certify that



                                   Robert P Frommer
             was duly qualified and admitted on April 3, 2006 as an attorney and counselor entitled to
            practice before this Court; and is, on the date indicated below, an Inactive member in good
                                                 standing of this Bar.




                                                                                     In Testimony Whereof,
                                                                                 I have hereunto subscribed my
                                                                               name and affu:ed the seal of this
                                                                                      Court at the City of
                                                                            Washington, D.C., on September 26, 2023.




                                                                                        Clerk of the Court




                                                               Issued By:


                                                                                  David Chu - Director, Membership
                                                                                 District of Columbia Bar Membership




       For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                           memberservices@dcbar.org.
                        VIRGINIA STATE BAR

                  CERTIFICATE OF GOOD STANDING

      THIS IS TO CERTIFY THAT ROBERT PELLER FROMMER IS AN ACTIVE MEMBER OF THE

VIRGINIA STATE BAR IN GOOD STANDING. MR. FROMMER WAS LICENSED TO PRACTICE LAW IN

VIRGINIA ON APRIL 22, 2005, AFTER SUCCESSFULLY PASSING THE BAR EXAMINATION GIVEN BY

THE BOARD OF BAR EXAMINERS.

Issued September 26, 2023


                                                        0:hvl~'-fr/,~
                                                                  DaVida M. Davis
                                                         Director of Regulatory Compliance
                                                                                             Case 2:23-cv-07970-CBM-MAA Document 14 Filed 09/29/23 Page 5 of 5 Page ID #:81
